        Case 1:19-cr-10080-NMG Document 2117 Filed 08/27/21 Page 1 of 10



                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


                                                           Case No. 1:19-cr-10080-NMG
    UNITED STATES OF AMERICA
                                                                   Filed Under Seal
         v.
                                                       ORAL ARGUMENT REQUESTED
    GREGORY COLBURN et al.,
                                                     Leave to file under seal granted on Aug. 27,
         Defendants.                                           2021, in ECF No. 2113

               DEFENDANTS’ OPPOSITION TO PAT HADEN’S MOTION
                  TO INTERVENE AND QUASH TRIAL SUBPOENA
        The Court should deny the motion to intervene and quash the trial subpoena by former

University of Southern California (“USC”) Athletic Director Pat Haden. The government has

charged Defendants Gamal Abdelaziz and John Wilson with various counts, including

conspiracy to commit honest-services fraud concerning the application and admission of their

children to USC as athletes. E.g., Fourth Superseding Indictment, Counts One, Four-Ten

(D.E. 732) (hereinafter “FSI”). The FSI alleges that university “[a]thletic coaches and

administrators . . . owe[d] a duty of honest services to their employers,” FSI ¶ 56, and that those

university personnel violated those duties by accepting payments to secure the admission of the

Defendants’ children to USC, FSI ¶¶ 66(f) 370(b), 376.

        Haden set the “tone at the top” for these USC personnel 1 and would provide probative

testimony of what honest services his subordinates actually owed to USC. His testimony would

be exculpatory. Haden met and exchanged emails with William “Rick” Singer about USC

admissions candidates, and—rather than instruct his subordinates to stop working with Singer—

instructed them (including then-USC Senior Associate Athletic Director Donna Heinel) to

follow-up with Singer. Haden was informed that Singer promised to raise funds for USC coaches

if they supported the admission of certain candidates, many of whom would not participate on


1
       Cf. U.S. Dep’t of Justice, Criminal Division, Evaluation of Corporate Compliance
Programs, at 10 (June 2020), https://www.justice.gov/criminal-fraud/page/file/937501/download
(“The company’s top leaders—the board of directors and executives—set the tone for the rest of
the company.”).


                                                 1
       Case 1:19-cr-10080-NMG Document 2117 Filed 08/27/21 Page 2 of 10




USC teams. The Defendants also have developed evidence that Haden instructed USC personnel

to route through the athletics subcommittee of USC’s admissions process (the “Subco”)

applicants whose families had donated, or were expected to donate, significant money to USC—

even when Haden knew that the candidates were marginal athletes or not athletes at all. Some of

these candidates had false or exaggerated credentials.




               But the jury should be able to hear Haden’s testimony: it will prove that USC

was not deprived of any honest services as a result of the admission of the Defendants’ children

to USC. Haden’s proposed testimony thus satisfies Federal Rule of Criminal Procedure 17 and

United States v. Nixon, 418 U.S. 683, 700 (1974).




2




3
       See generally Ex. A


                                                2
       Case 1:19-cr-10080-NMG Document 2117 Filed 08/27/21 Page 3 of 10




                           HADEN’S TESTIMONY IS DIRECTLY RELEVANT
                     TO THE GOVERNMENT’S HONEST-SERVICES CHARGES

       A.      The Court should order compliance with the trial subpoena validly issued to
               Haden
       In every case alleging honest-services fraud, the government must actually prove what

honest services were owed. See, e.g., Skilling v. United States, 561 U.S. 358, 376 (2010)

(approvingly quoting honest-services fraud elements as “ ‘(1) a material breach of a fiduciary

duty . . . (2) that results in a detriment to the employer,’ including one occasioned by an

employee’s decision to ‘withhold material information, i.e., information that he had reason to

believe would lead a reasonable employer to change its conduct’ ”) (quoting United States v.

Skilling, 554 F.3d 529 (5th Cir. 2009)); see also United States v. Sawyer, 85 F.3d 713, 725 (1st

Cir. 1996) (citing cases) (vacating mail, wire fraud convictions). Here, the FSI alleges that the

“manner and means” of the Defendants’ alleged honest-services-fraud conspiracy involved:

               Bribing athletic coaches and university administrators to designate
               students as purported athletic recruits—with little or no regard for
               their athletic abilities and, in some cases, even though they did not
               play the sport they were purportedly recruited to play—and as
               members of other favored admissions categories, in violation of the
               coaches’ and administrators’ duties of honest services to their
               employers.
FSI ¶ 66(f). Haden’s anticipated testimony would be probative and compelling since it will

contradict this central allegation on which most of the government’s charges rely.

4
       Ex. B
5




                                                 3
       Case 1:19-cr-10080-NMG Document 2117 Filed 08/27/21 Page 4 of 10




       The Defendants have evidence that Haden, as USC’s Athletic Director, instructed USC

personnel to weigh applicants’ fundraising potential as part of USC’s Subco admissions process

even as some of these candidates had marginal or no athletic talent. The “tone at the top” that

Haden set—and the honest services he expected from his subordinates—was the avid advocacy

for the admission of applicants with fundraising potential, regardless of their athletic prowess.

Furthermore:




6
       See, e.g.,

•      Ex. C



•      Ex. D


•      Ex. E




7
       Ex. F
8
       Ex. G



                                                 4
       Case 1:19-cr-10080-NMG Document 2117 Filed 08/27/21 Page 5 of 10




       B.       The Court should reject Haden’s motion to quash and his arguments
                contesting the clear relevance of his anticipated testimony
       The Court should reject Haden’s three arguments to quash the trial subpoena, all of which

grossly mischaracterize the evidence Defendants expect to offer, the significance of that

evidence, or both.

       First, as the preceding section of this brief illustrates, the purpose of Haden’s testimony is

to show that he instructed his staff to engage in fundraising, through the Subco, and without

regard to applicants’ actual athletic talent, which is part of what he also communicated to

members of the Subco. This is conduct at the heart of the government’s alleged honest-services-

fraud conspiracy. But there cannot be any honest-services fraud if the USC personnel who were

the Defendants’ alleged co-conspirators—Haden’s subordinates—did precisely what Haden

expected them to do. The Defendants intend to prove those facts at trial, precluding the

government from proving beyond a reasonable doubt that USC was deprived of any honest

services. As a result, Haden’s contention that his testimony has no probative value is utterly

without merit. D.E. 2094 at 7.


9
       Ex. H
10
       Ex. B at 8
11
       Ex. I

12
       Ex. J_



                                                 5
       Case 1:19-cr-10080-NMG Document 2117 Filed 08/27/21 Page 6 of 10




       Second, Defendants contend that their conduct was lawful since there was no honest-

services fraud, for the reasons explained above. Haden’s weak retort—that Defendants “cannot

contest their guilty by proving that others committed crimes as well,” id.—only assumes the

conclusion that the government must prove beyond a reasonable doubt. Defendants have no

interest in using Haden to prove anyone committed a crime. They seek his testimony to show the

Defendants did not commit a crime because Haden’s Athletics Department did what he expected

and directed, was consistent with USC’s overall goals and completely lawful.

       Third, Haden’s motion to quash ends with a straw-man argument—that the Defendants
might “argue to the jury that USC’s admissions process is arbitrary or unfair.” Id. That, yet

again, is not the Defendants’ purpose in seeking Haden’s testimony. The illustrative evidence

arrayed in the preceding section explains precisely what the Defendants wish to elicit from

Haden. That evidence is relevant, admissible, exculpatory, and compelling.

       Haden is the central, most senior USC Athletic Department official who can speak with

authority to the honest services USC actually expected and whether his subordinates actually

provided those honest services. The Court should deny Haden’s motion to quash.




                                                 6
Case 1:19-cr-10080-NMG Document 2117 Filed 08/27/21 Page 7 of 10




                               7
     Case 1:19-cr-10080-NMG Document 2117 Filed 08/27/21 Page 8 of 10




13
     Ex. A
14
     See
15
     Ex. K




                                    8
     Case 1:19-cr-10080-NMG Document 2117 Filed 08/27/21 Page 9 of 10




16



17




                                    9
      Case 1:19-cr-10080-NMG Document 2117 Filed 08/27/21 Page 10 of 10




                                          CONCLUSION
       For the foregoing reasons, the Court should deny Haden’s motion to intervene and quash

trial subpoena




 Respectfully submitted,

 By their counsel

 /s/ Michael Kendall                             /s/ Brian T. Kelly
 Michael Kendall (BBO #544866)                   Brian T. Kelly (BBO # 549566)
 Lauren Papenhausen (BBO# 655527)                Joshua C. Sharp (BBO # 681439)
 WHITE & CASE LLP                                Lauren M. Maynard (BBO # 698742)
 75 State Street                                 NIXON PEABODY LLP
 Boston, MA 02109-1814                           53 State Street
 Telephone: (617) 979-9310                       Boston, MA 02109
 michael.kendall@whitecase.com                   (617) 345-1000
 lauren.papenhause@whitecase.com                 bkelly@nixonpeabody.com
                                                 jsharp@nixonpeabody.com
 Andrew Tomback (pro hac vice)                   lmaynard@nixonpeabody.com
 MCLAUGHLIN & STERN, LLP                         Robert Sheketoff (BBO # 457340)
 260 Madison Avenue                              One McKinley Square
 New York, NY 10016                              Boston, MA 02109
 Telephone: (212) 448-1100                       (617)-367-3449
 ATomback@mclaughlinstern.com
                                                  Counsel for Gamal Abdelaziz
 Counsel for John Wilson

 Date: August 27, 2021

                                CERTIFICATE OF SERVICE

       I hereby certify that the above document is being filed on the date appearing in the header
through the ECF system, which will send true copies to the attorneys of record.

                                             /s/ Michael Kendall
                                             Michael Kendall




                                               10
